 1    LANE & NACH, P.C.
      2001 East Campbell Avenue
 2    Suite 103
      Phoenix, Arizona 85016
 3    Telephone No.: (602) 258-6000
      Facsimile No.: (602) 258-6003
 4
      Michael P. Lane – 007435
 5    Email: michael.lane@lane-nach.com
 6    Attorneys for Lothar Goernitz, Trustee
 7                       IN THE UNITED STATES BANKRUPTCY COURT
 8                              FOR THE DISTRICT OF ARIZONA
 9    In re:                                           (Chapter 7 Case)
10 ROBERTO AMADOR TORRES                               No. 2:21-bk-01404-DPC
   fdba EL PUEBLO FOODS
11 aka ROBERT AMADOR TORRES,                             AMENDED NOTICE OF FRBP 2004
                                                        EXAMINATION AND CERTIFICATE
12                                                              OF SERVICE
13                   Debtor.
14

15
                YOU ARE HEREBY NOTIFIED that the examination of Roberto Amador Delgado will
16
      be taken pursuant to Fed.R.Bankr.P. 2004 on May 21, 2021 at the hour of 10:00 a.m., at the offices
17
      of Lane & Nach, P.C., 2001 East Campbell Avenue, Suite 103, Phoenix, AZ 85016.
18              YOU ARE FURTHER NOTIFIED that the documents listed on Exhibit “A” to the Order
19    Requiring Production of Documents and Oral Examination (“Order”) shall be produced to the
20    undersigned counsel on or before May 17, 2021. A complete copy of the signed Order is attached
21    hereto.
22              DATED: April 19, 2021.
23

24                                              LANE & NACH, P.C.

25
                                                By: /s/ MPL 007435
26
                                                   Michael P. Lane
27                                                 Attorneys for Trustee

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1                                    CERTIFICATE OF MAILING
2           The undersigned hereby certifies that on April 19, 2021, a copy of the Notice of FRBP 2004
3     Examination, signed Order were served by depositing a copy of the same in the U.S. mail, in a
4     postage prepaid envelope, addressed as follows:
5
      Roberto Amador Delgado
6     2056 East Ranch Ct.
      Gilbert, AZ 85296
7
      VIA EMAIL ONLY:
8
      Candace E Kallen
9     My Arizona Lawyers
      1731 West Baseline Road Suite 101
10    Mesa, AZ 85202
      Email: jacqueline@myazlawyers.com
11    Attorney for Debtor

12    By: /s/ Sheila Rochin

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                                                                      SO ORDERED.


                                                                      Dated: April 15, 2021



 1
 2
                                                                      Daniel P. Collins, Bankruptcy Judge
 3                                                                    _________________________________

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 6                       IN THE UNITED STATES BANKRUPTCY COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8     In re:                                            (Chapter 7 Case)
 9     ROBERTO AMADOR TORRES                             No. 2:21-bk-01404-DPC
       fdba EL PUEBLO FOODS
10     aka ROBERT AMADOR TORRES,                         ORDER GRANTING TRUSTEE’S
                                                         APPLICATION FOR PRODUCTION
11                    Debtor.                            OF DOCUMENTS AND ORAL
                                                         EXAMINATION PURSUANT TO
12                                                       F.R.B.P. 2004 – ROBERTO AMADOR
                                                         DELGADO
13

14

15              This Court having considered the Application For Production of Documents and Oral
16    Examination Pursuant to Federal Rule of Bankruptcy Procedure 2004 filed by Lothar Goernitz,

17    Trustee (“Trustee”) and good cause having been established,

18
                IT IS HEREBY ORDERED that Roberto Amador Delgado shall produce the documents
      detailed in Exhibit "A" attached hereto, to Trustee's attorneys, Lane & Nach, P.C., 2001 East
19
      Campbell, Suite 103, Phoenix, Arizona, and shall submit to an oral examination under oath, on a
20
      date and time agreeable to the parties or, if upon notice, after not less than 28 days’ notice.
21
                IT IS FURTHER ORDERED approving Trustee’s calculation for compliance with FRBP
22
      2004(e) as set forth in Trustee’s Application.
23
                IT IS FURTHER ORDERED that Trustee shall promptly serve this Order on Roberto
24
      Amador Delgado and file a certificate of service therefor.
25                                    DATED AND SIGNED ABOVE
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1                                                    EXHIBIT “A”
2            With respect to El Pueblo Foods, LLC, (hereinafter “Corporation”) please produce the
      following:
3
              1.   Copies of all corporate income tax returns (federal and state) from from January 1, 2018, to the
4     present .
5             2. Copies of all corporate minutes, articles of incorporation, by-laws and stock transfer records.
6             3. Copies of any and all financial statements prepared by the Corporation or on its behalf, including
      but not necessarily limited to those prepared for submission to lending institutions from January 1, 2018, to
7     the present.
8            4. All titles, bills of sale or contracts of sale upon personal property for automobiles, boats,
      motorcycles, ATC's or aircraft belonging to the Corporation or in which it has or ever had any interest
9     whatsoever.
10             5. All leases to which the Corporation is a party or in which it has, or ever had, a legal or beneficial
      interest.
11
              6. All contracts to which the Corporation is a party or in which the Corporation has or ever had a
12    legal or beneficial interest.
13            7. All promissory notes in which the Corporation is or was a maker.
14            8. All promissory notes in which the Corporation is, or was, a holder or payee.
15            9. Copies of all canceled checks, monthly bank statements, check registers pertaining to all bank
      or other deposit accounts in the name of the Corporation or in which the Corporation now has or since
16    January 1, 2018, has had a legal or beneficial interest. This request is for all such accounts currently existing
      or which existed during the time period.
17
              10. All insurance policies and schedules owned by the Corporation at the present time.
18
              11. Copies of all business books and records for the period January 1, 2018, to the present,
19    including, but not limited to, the following:
20                        a.   The cash receipts journal;
                          b.   The cash disbursement journal;
21                        c.   The general ledger;
                          d.   The payroll journal;
22                        e.   The payroll tax returns;
                          f.   Schedule of accounts payable; and,
23                        g.   Schedule of accounts receivable.
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